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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X
Greenway II, LLC as successor to
NWW-1985 Trust


                 Plaintiff,                                     19 Civ. 4093 (CM)

        -against-



Wildenstein & Co., Inc.
                  Defendant.
----------------------------------------------------X

Plaintiff’s request for a fifth extension of time for discovery is GRANTED due to the fact that
the French courts are currently closed due to the COVID-19 pandemic.



Dated: January 11, 2021
       New York, New York

                                                       So Ordered




                                                       ___________________________
                                                       Colleen McMahon, Chief U.S.D.J
